Case 1:19-cv-02861-CCB Document 1 Filed 09/30/19 Page 1 of 32

FILED
US. DASERICY COURT .
OISTRICT OF MARYL AT

7 LR .
IN THE UNITED STATES DISTRICT COURT 2019 SEP 39 AH Hel 9
FOR THE DISTRICT OF MARYLAND epee ge we

CORNELIUS XAVIER KOROMAH-BOYKINS

Per Se Litigant

3230 Yosemite Avenue

Baltimore, Maryland 21215-7513
443-806-6387

Plantiff

-against-

DONALD J. TRUMP, President

of the United States in

His official capacity;

United States Department of Justice
Office of Legislative Affairs;
STEPHEN E. BOYD,

Asst. US Attorney General

In his official capacity

Main Justice Building Room 1145
950 Pennsylvania Avenue, NW
Washington, DC, 20530

(Tel) 1-202-514-2141

Defendants

Be

AT B To eu
S
DE uty

 

Complaint for a Civil Case

Case No.

 

Jury Trial: NO

Judicial Notice

In the Matter of:

H.R. Bill 40- Commission to Study and Develop Reparations Proposals for African-American Act

(116"™ Congress 2019-2020)
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 2 of 32

1. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail] Address

B. The Defendant(s)

Cornelius Xavier Koromah-Boykins

 

3230 Yosemite Avenue

 

Baltimore City

 

Maryland, 21215

 

443-806-6387

 

exiledprince@hotmail.com

 

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Mr. Stephen E. Boyd c/o Pres.Donald J. Trump

 

Asst. U.S Attorney General (OLA)

 

905 Pennsylvania Avenue

 

Washington

 

District of Columbia 20530

 

202-514- 2141

 

n/a

 
Defendant No. 2

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 3

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 4

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 3 of 32

Mike Pompei in c/o Marik String, Legal Adviser

 

U.S. Department of State/ Treaty Affairs

 

2201 C. Street, NW.

 

Washington

 

District of Columbia, 20520

 

202-647-4000

 

nia

 

Helen Yarbrough

 

General Counsel, Bridgestone/Firestone America

 

535 Marriott Drive

 

Nashville

 

Tennessee

 

615-937-3107

 

n/a

 

Stephen Riley, Town Manager

 

The Town of Hilton Head Island

 

One Town Center Court

 

Hilton Head Island

 

South Carolina 29928

 

843-341 4700

 

stever@hiltonheadsc.gov

 

(If there are more than four defendants, attach an additional page
providing the same information for each additional defendant.)
II.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 4 of 32

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship

case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question C1 Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

The General Acts of the Berlin Conference(1884-5), the Brussels(1890) and Congo Free State.
A treaty between Liberia & The United States on October 21/25, 1862 (All treaties based on Amity & Commerce).

The United States Constitution (Art.1.Sec 9, cl8) and {Art.1.Sec. 10) From grants of Nobility.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) Comelius X. Koromah-Boykins is a citizen of
the State of (name) Maryland

b, If the plaintiff is a corporation

The plaintiff, (name) , is incorporated
under the laws of the State of (name)

and has its principal place of business in the State of (name)

>

 

 

(ff more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff)

4
Case 1:19-cv-02861-CCB Document 1 Filed 09/30/19 Page 5 of 32

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Oris a citizen of

 

(foreign nation)

 

b. H the defendant is a corporation

The defendant, (name) Mr. Stephen E. Boyd , is
incorporated under the laws of the State of (name)

Washington, District of Columbia, and has its principal place of
business in the State of (name) ta . Oris
incorporated under the laws of (foreign nation)

nia , and has its principal place of
business in (name) U.S. Department of Justice

 

 

 

(f more than one defendant is named in the complaint, attach an

additional page providing the same information for each additional
defendant.}

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because fexplain):

The Massaquoi family engaged in over 200 treaties with foreign governments inclusive of
the American and British, payments were distributed periodically between the years of December-

1821-todate under international Jaw. This amount supass $20,000,000,000,000,00. plus interest
It.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 6 of 32

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

The United States Government, by formal ratification of the General Acts of the Bertin,

 

Brussels and the Congo Free State would have acknowledged participation with the

 

British Powers in the relations to concern and guardianship respecting the admini-

 

strative interest in the Congo State. At the Berlin Conference, the Powers took mutual

 

engagements to watch over the preservation of the Native population of Africa and

 

the improvement of their moral and material condition of life.

 

The Plaintiff is successor to the Massaquoi family under King Siaka Massaquoi-

 

(1780-1843), who was a notorious slaver at the Gallinas Country of both Liberia &

 

Sierra-Leone. Siaka deputized his son Prince Manna to succeed him in treaty
engagements with a British Commander by the name of Joseph Denman,
who was called by the Governor of Sierra-Leone to rescue some British subjects,

both Mother and Child from the possession of Prince Manna. Commander Denman violated

 

 

 

 

treaties made with the Spanish government meant only for the waters and

not the land made in June of 1835. Commander Denman came on shore and
burned the barracoons of King Siaka to the ground violating the Spanish treaty on
November 19,1840, and thereafter, an "Act of State" was declared after consultation
between the Admiralty, Colonial, Foreign, Law Officers, and Confidential advisers-
of the Crown approved Commander Denman's actions. After a (25) twenty-five
year lenghty struggle with court trials for slavery and land negotiations, the British

 

 

 

 

 

 

 

government with their cover-ups of (Buron v.Denman)1848, all treaties numbering
over 200 and made with over 30 Kings & Chiefs of Africa, the treaties made with the

 

 

Massaquoi family were forever binding and chargeable to the British treasury,-

 

providing gifts, pensions, presents, other promises, and stipends, now considered
the "Private Wealth" of Prince Manna from the most important treaty No. 92 of -
March 30,1882, with Jaiah and Lamin Abdul Lahai Massaquoi respectively.

The British Parliament acted as judge with its supreme authority. see next page

 

 

 

 
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 7 of 32

ADDITIONAL ATTACHMENT FROM PAGE 6.
STATEMENT OF CLAIM:

To this Honorable Court,

Over the last twenty (20) years, Plaintiff has been seeking this chamber’s audience on this matter.
Plaintiff brings to this court’s attention that there is “NO” need for any Commission. He can provide all
documentation needed for the House of Representatives to present the blank check as promised to his
family by the American and British Colonization Societies between the years of 1821 and 1935
respectively in a (SECRET SETTLEMENT).

From the actions of the Honorable Captain Denman on November 19, 1840, Her Majesty’s Law Officers
of the Crown has acknowledge that the “Waters” around Sierra-Leone and Liberia/Sulima’s (OTL) are the
waters of King Siaka (Siacca, Shiaka Scheakkar) Massaquoi, and that the treaty from this date would
allow future generations to benefit from the country’s slave trade and mineral wealth up to the Region’s
Independence and thereafter in April 1961. See (“Exhibit”No.1L-2)

However, discussions with landowners in the Bo Reservation where Government had built houses for
senior Government Officials, since colonial times, shows that the obligations for the annual lease
payments for land acquired from landowning families, has not been honored by the governments of the
U.S., U.K., Sierra-Leone, and Liberian governments for over 80 years as follows:

* The Slavers at the Gallinas in 1840- estimated their losses at £1 million sterling. King Siaka
confiscated all properties, but these monies from his treaty partner multiplied by 178 years plus
historical interests...

e From the treaty of November 19, 1840- King Siaka and Prince Manna Massaquoi receives £/$4,000
monthly by Her Majesty’s treasury considered as a pension forever from the British treasury on July
6, 1865 multiplied by 178 years plus historical interest... (Select Committee on the Western Coast
of Africa 1865.) Attached. See (“Exhibit No.1M)

e May 17, 1850- President Roberts confirms the purchase of the Gallinas and other tracts of territory at
$10,000. This multiplied by 168 years plus historical interest...

* 1860 (65) - the American and British Foreign Societies sets aside funds at $64,000 for the purchase of
Lands from Liberia/Sierra-Leone. $64,000 multiplied by 158 years plus historical interest.

* March 3, 1865- President Abraham Lincoln established the Freedman’s Bank. At its height, the Bank
had over $57,000,000.00 in deposits (adjusted for inflation) and 70,000 depositors. Congress can
restore these monies stolen from the Black race after Lincoln’s assassination. See. (“Exhibit”No.1X)

e 1879- The Massaquoi Family confirms their independence before the British- Liberian Boundary
Commission. Half the balance sum of $5,000.00 was given to the Kings/Chiefs upon abolition of the
Slave trade or purchase of land in 1850. See Reference (“Exhibit”No.1Y)
rel

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 8 of 32

March 30, 1882 - British ratifies the treaty of Turner’s Peninsula and $40,000 surrounds this deal with
£210 distributed annually to Kings and Chiefs. This multiplied by 136 years plus historical interest...

Successor to the Massaquoi Kingship has not been recognized by Her Majesty or Her Majesty’s
government as of February 10, 1887. The (slave trade) wealth of Prince Manna was to become
inherited by this appointed successor. This appointment is still being awaited by the Massaquoi
family. We seek this appointment by the Department of Justice as well as the United Kingdom
Ministry of Justice. See. “*Exhibit”No.1D)

1898- Lamin Abdul Lahai Massaquoi is a colonial officer and stipend Chief on the payroll of Her
Majesty’s government. Lamin is successor to the Massaquoi crown. See Reference-
(“Exhibit”No.1N)

1909- His Majesty’s Government is prepared to pay the Liberian Government £6,000 with interest on
that sum of 4% after communications with the French government on the colonial boundaries.

1923- Grandfather Lamin executes his trust and will for the Gallinas, Soro-Gbemah, Juring, and
Sulima (Moa River). Taken territory from Liberia. See Reference (“Exhibit”No.1D)

From 1930-1998- the estimated worth of diamonds taken from Sierra-Leone is $15 billion. No Sierra-
Leonean benefitted from these monies. Today, there are a multitude of minerals never commercially
exploited.

These are the breakdowns of monies to be received by the Massaquoi family, successive Kings and
their descendants and assigns, chargeable to the British treasury forever.
IV.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 9 of 32

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

The Massaquoi "Private Wealth” was left to Mr. George M. Koromah Sr., who left the shores of
West Africa in 1937. Mr. Koromah lost businesses, family, friends never to see again.
While coping with the challenges and sufferings coming to America for a new life. He
had retained the secrets of the slave trade from his family for security reasons, taking
them to his grave. The legacies left are incalculable between America & Britain.
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 10 of 32

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivoious argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 4/30/ 201%

Signature of Plaintiff
Printed Name of Plaintiff Comelius Xavier Koroma

     

-Boykins
(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

For Attorneys

Date of signing: 20

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

Telephone Number

Email Address

 

 

 

 

 

 
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 11 of 32

Plaintiff ask the Court to take Judicial Notice of several documents in deciding a matter covering
over 250 years of the Slave Trade, governing under several articles: (1) ARTICLE II MD. FED.
R. EVIDENCE 201 (A), (B) 2, (C) (D), and (E), (2) ARTICLE Ili MD. FED. R. EVIDENCE
3, (3) ARTICLE IV MD. FED. R. EVIDENCE 401 (A), (4) ARTICLE IX MD. FED. R.
EVIDENCE 901 and (5) ARTICLE X MD. FED. R. EVIDENCE 1003, 1004, & 1005. Under
Rule 201, the court can judicially notice “Official acts of the legislative, executive, and judicial
departments of the U.S.” and “Facts and propositions that are not reasonably indisputable:
accuracy.” Courts have held that Judicial Notice as appropriate for records and reports of
administrative bodies. The court may take judicial notice of internet material ( The Memoirs of
Lord Denman, Chief Justice, Law-maker, Member of Parliament-Britain).

Subject: H.R. Bill 40 Commission to Study and Develop Reparations Proposal for African
American’s Act (116 Congress) & The Proposal to Restore the Massaquoi Crown of
Liberia.

PARTIES

]. Plaintiff Cornelius Xavier Koromah-Boykins in acting Pro Se Litigant is the
representative of the Koromah and Massaquoi Family. He is the grandson of the late Mr.
George M. Koromah, Sr. and the direct descendant of his predecessor, King Siaka/Siacca
Massaquoi of the Gallinas Kingdom of Liberia and Sierra-Leone. He is a resident of
Baltimore, Maryland, U.S.A.

2. Defendant Donald J. Trump is currently President of the United States. He assumed his
presidency on January 20, 2017. As chief executive, President Trump oversees all
executive agencies and cabinet members, including Defendant U.S Department of Justice
and U.S. Department of State. He is being sued in his official capacity.

3. Defendant Boyd has been Asst. States Attorney since 2017 and is (OLA) Office
Legislative Affairs Senior official. Boyd is responsibie for legislative acts being reviewed
before Congress. He is being sued in his official capacity.

4. Defendant(s) Department of Justice is a department of the Executive Branch of the U.S.
government. DOJ and its component agencies, Office of Legislative affairs, Civil Rights
and Constitutional Affairs.

5. Defendant(s) is President Donald Trump and agencies of the United States government,
and at the time of this complaint, are residents of Washington, DC, U.S.A.

GENERAL ALLEGATIONS

6. Plaintiff(s) presents the following alleges and causes of action of the following: “Breach
of Contract” and “Breach of Treaty” of March 30, 1882 under U.S.C. Art. 2 Sec. 2 Cl. 2
and request that the court take Judicial Notice of several documents in support of theory
not pled in the complaint.
7.

10.

1].

12.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 12 of 32

Defendant(s) has been non- compliant with distribution of due gifts, pensions, presents,
promises, stipends, and debts for giving up the slave trade. Under international law, they
failed to honor the collections of treaties starting December 1822, November 19, 1840,
and the most important of March 30, 1882, which lead to grievances sustained by the
Plaintiff and his family, seeks acknowledgement from Defendant(s) and relief order from
these “Breach of Treaties” in a Secret Settlement Conference on or from the agreement of
February 10, 1887 by “Her Majesty the Queen” or “Her Majesty’s” Government. See
(“Exhibit” No.1D, 11x17 size papers)

The Slave Trade Convention negotiations between British and American ministers
illustrated the extent to which the U.S. was unwilling to compromise maritime
sovereignty to suppress the foreign slave trade more effectively. In 1820, the Committee
on the slave trade submitted a resolution to the President “to consult and negotiate with
all Governments” on the means of effecting an entire and immediate abolition of the
African slave trade. The Governments defaulted on their treaty promises with Native
Kings and Chiefs numbering over thirty (30) for the entire African continent. See
(“Exhibit” No.1F)

COUNT _1 -BREACH OF TREATY

Treaty No. 92 of March 30, £882 was inspected by the Indiana University Conservatory
and the Liberian anthropology and special collections department in 2014 by Mr. Verlon
Stone and associates and the results were that the document was proven authentic.

Plaintiff(s) late grandfather Mr. George M. Koromah Sr. inherited the bequest of
catalogues to both the American and British African Colonization Societies starting
between the years of December 21, 1816- to its dissolution in 1964. All located in the
British House of Parliament and the U.S. Library of Congress (Office of the Historian).

Plaintiff(s) predecessor King Siaka Massaquoi signed treaty engagements with Her
Majesty’s Government on November 21, 1840 in the Gallinas Kingdom of Liberia and
Sicrra~Leone pursuing the abolition of the slave trade. Her Majesty’s Royal Navy
Commander Joseph Denman and Captain Hill burned down barracoons, flogged,
intimidated, raped wives, and bribed the Chiefs with a Parliamentary grant of £4,000 and
this happens to be recorded and documented. Thereafter, the purchase of Our
Sovereignty and Political Incorporation began and became inclusive with trade and
development for those affected. On February 2, 1850-60, Prince Manna’s statement to
Her Majesty’s Government was that since he’d given up the slave trade, “What was Her
Majesty going to do for them?” They received the British Treasury after an “Act of
State” was declared. See reference (“Exhibits”No.1L-2 Page.454, No.1E2,1E3,).

Plaintiff(s) descends from both King Siaka Massaquoi (B.1780-D.1843 Yale U.) and
Caleb Gough (1840-19167) “Royalty and Enslaved” ancestry from West African and the

2
13.

14.

15.

16.

17.

18.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 13 of 32

Island of Hilton-Head, South Carolina and Beaufort of the United States. Gough was a
Civil War Veteran (Descendant(s) never received benefits from America).

Deceased Member of Parliament Bernie Grant in 1997 started communications with the
Foreign & Commonwealth Office as to Whom would receive compensation for the slave
trade and what Government should benefit from this compensation package from the
Foreign & Commonwealth Office. The goal is to work to harmonize Africa into the
World of Nations for this coming 2020 and Plaintiff(s) can provide all documentation
with the promises past due by Her Majesty’s predecessors.

On June 19, 2019, the Judiciary Committee of the House of Representatives had a
historical hearing on Bill H.R. 40 that would establish a Commission to Study
Reparations. It’s the first hearing concerning reparations in more than a decade.
American and Britain accounts are bound by the lifetime of its generations, Leading into
this century, the United States has paid pensions to the heirs of Civil War Soldiers,
however, the Plaintiff(s) received nothing. The U.S.A. has honored treaties that date back
some 200 years, despite no one being alive who signed those treaties. Congress entered a
growing conversation in the Democratic Party and the Country at large about lingering
racial disparities in the United States. Once considered a fragile topic, mostly pushed
aside in Congress, the possibility of reparations was treated with seriousness by witnesses
(11) and lawmakers alike, although Republicans made clear their opposition.

Plaintiff(s) views this denial of constitutional rights emulates the dark period of
American-Liberian history when the United States federal government sought to rid the
United States of people found undesirable and threatening based on their race and
identity. Now hundreds of years later, Plaintiff finds himself and family in an identical
position.

Plaintiff(s) research was conducted at the Johns Hopkins University, and provides that
educators, shareholders, and philanthropist of America’s oldest and most elite colleges of
Brown, Columbia, Dartmouth, Harvard, Princeton, Yale, and the Johns Hopkins
University being the youngest, received archives of investigative study on the movements
of the British and the Americans that would secure the return of freed slaves back to
Africa, both Liberia and Sierra-Leone.

Considering his wealth as a trust, Johns Hopkins used it for the benefit of humanity. The
American Colonization Society reviewed their work from the point of view of its effect
(1) on the solution of the racial and prejudice problem in the U.S. from 1817 to 1840 and
(2) on the building upon the coast of Africa a model Afro-republic after 1840 (JHU Press
600 Pages 1889-91).

The family of Johns Hopkins for several generations adhered to the views of the Society
of Friends in England. He, Johns Hopkins, contributed to the support of educational and
benevolent societies. He was not active in their management.
19

20,

21.

22.

23.

24.

25,

26.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 14 of 32

. Plaintiff(s) attended a conference in May 2018 before the Africa Subcommittee on the
Congo to address Congressman John Conyers House Resolution H.R. 40 on reparations
in the tune of $777 trillion to Africa and African Americans. The elite colleges would
Officiate this movement.

The Johns Hopkins University’s presence is already established “WORLD WIDE” and
the Plaintiffs) wouid like for this institution to contribute the amount of $350 million
with hopes that the rest of the elite institutions would match this sum and Congress and
international partners would follow pursuit and pay its incalculable debt to Africa as she
would take her rightful place amongst the other powerful Nations.

Plaintiff(s) has invested over $180,000.00 of his life savings and time in seeking
information on his "LOST" African family on the shores of both Liberia and Sierra-
Leone, West Africa with much success and he is willing to provide all of the materials
recovered from this search to the Commission at a procurement as he has already
provided a portion of the family’s portfolio hoping for a positive outcome from the
Commission. If this Honorable Court is willing, you can subpoena Plaintiff to Congress
as he is willing to attend on his own. See SEC. 5, POWERS OF THE COMMISSION.
Hearings and Sessions.

COUNT 2 - BREACH OF FIDICIARY COMMITMENTS

When the African World Reparation and Repatriation Truth Commission (A WEETC)
met for the first time in Accra in 1999, they issued a declaration that called for $777
trillion for Africans and $25 trillion for the African Americans (Koromah's included)
over 5 years for enslaving Africans during Colonization of the Continent. The money
was to come from the nations of Western Europe, the Americas, and institutions
(mentioned in 13) who participated and benefitted from the slave trade and Colonialism.

Britain ended its slave trade in 1807 and freed slaves in its Caribbean Colonies by 1838.
The British government borrowed £20m then around 40% of the budget to meet the
47,000 claims for loss of ‘human property.’ 3,000 families were compensated, many
former slaves received none.

The British Empire is the most commonly cited precedent for the global power currently
wielded by the United States. America is the heir to the empire in both senses; offspring
in the Colonial Era and successor today. ,

The debate over reparations for black Americans began not long after the end of the
CIVIL WAR. A resolution to study the issue was first proposed in 1989 by Conyers of
Michigan who put it forward year after year until his retirement in 2017.

The Freedman’s Bureau/Savings and Trust Company was chartered by Congress in early
1865 for the benefit of ex-slaves. The surviving records relating to the bank and its
27.

28.

29.

30.

31.

32.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 15 of 32

collapse are a rich source of documentation about the American family. (Beaufort/Hilton
Head). See references below.

On February 13, 1865, with the assistance of Senator Charles Sumner of Massachusetts, a
bill to incorporate the Freedman’s Savings and Trust company was brought before
Congress. After a brief discussion and some confusion about where the bank would be
located, “An act to incorporate the Freedman’s Savings and Trust Company” was signed
into law by President Abraham Lincoln on March 3, 1865, On June 27, 1874, the
Freedman’s Bank closed. The comptroller was required to submit annual reports to
Congress. The final report of the comptroller was made in 1920. Some $57,000,000.00
belonged to 70,000 accountholders from all walks of life. Some depositors and their
descendants spent more than thirty-seven years petitioning Congress for reimbursement
for losses. Between 1875 and 1883, five dividend payments were declared amounting to
62% of what was owed to depositors. Of the 61,131 depositors eligible to receive the
dividends, only 29,996 sent in passbooks. See References. (Beaufort/Hilton Head)
(“Exhibit”No.1X)

Several committees of Congress investigated the affairs of the Freedman’s Bank and
received petitions from persons who sought compensation for losses suffered when the
bank failed. Information concerning these matters can be found among the records of the
U.S. Senate (Record Group 46) and the U.S. House of Representatives (Record Group
233)

Upon the information received and provided, Defendant(s) President Trump’s
discriminatory attitude has also influenced the agencies, advisors, and policymakers
under his charge.

Defendant(s) Trump has stoked racial hostility and unreasonable fear about Black people
in Africa by spreading false claims such listed: (1} of “attacks on white farmers in South
Africa,” (2) ridiculed and mocked African people for purportedly living in “huts,” (3) has
called countries on the African continent “shithole countries,” and questioned why the
United States has immigrants from those countries instead of immigrants from
predominantly white countries such as Norway, and (4) recently put Baltimore City on
“World Wide” blast for being infested with rats, rodents and addressed of its inhumane
living conditions and standards, saying it’s not livable.

Plaintiff(s) can attest to Defendant Trumps remarks as he has been a resident of
Baltimore City for over 46 years and has seen its population dwindle from over
1.5.million to less than 600,000 residents inclusive of the homicide and murder rate
during his lifetime on this planet and Plaintiff(s) wants Defendant(s) to Bill H.R.40 a law.

Perhaps the most burning contemporary question of American politics is should the
United States seek to shed or to shoulder the imperial load it has inherited? Plaintiff(s)
provides the documents to this Honorable Court, but without an understanding of the
British Empire’s rise and fall; and what it did, not just for Britain but for the World as a
whole.
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 16 of 32

FACTS
33. Plaintiff(s) Family Origin and Treaties:

A. Cornelius Xavier Koromah-Boykins, the Crown Prince of the Kingdom of the
Gallinas of Sierra-Leone and bordering Liberia, is a resident of Baltimore City,
Maryland. He has (1) child and had worked for and with the community of Johns
Hopkins University for over (20) years until 2017. He enjoys global travelling,
baseball, football, reading, volleyball, and his family. The Plaintiff and his family are
currently living in exile in the United States. They are direct descendant of “King”
Lamin Abdul Lahai Massaquoi of Sierra-Leone, a natural ruler during the 1860’s -
1900’s. See References. (“Exhibit” No.1A)

B. Mr. George M. Koromah, Sr., was the only offspring to the late Mussah Koromah and
Sally Massaquoi- Koromah. He was orphaned prior to his teens and was raised by his
grandparents, the late Lamin Abdul Lahai Massaquoi and Gbaissay Kamarah. Born
on December 20, 1908 at Bandoh, Cape Mount County, Liberia, West Coast Africa,
he acquired his elementary education at the Holy Family Parish in Pujehun and St.
Patrick’s in Bonthe, Sherbro, and his secondary at St. Edward High School in
Freetown, Sierra-Leone. Business being his major, he worked for the United Africa
Company from 1926 to 1937 as assistant accountant and store manager. With the
award ofa scholarship, he came to the United States in 1937 and graduated from
West Virginia College Institute, West Virginia with a bachelor’s degree in
Agriculture in 1942. In 1943, he was united in matrimony with the late Cornelia
Gough of (Hilton Head Island), and out of this union, sprang five children: George
Jr., Reginald, Sr., Martha (Boykins), Catherine (Alston), and Bernard Koromah. Upon
moving from Cherry Hill to Fulton Avenue in 1946, he joined St. Pius V Parish, and
served as altar boy, Secretary of the Holy Name Society, and Financial Secretary of
the Knights of St. John Commandery #264. In Community activities, he officiated as
Publicity Director for the Harlem Neighborhood Club during its formative years, and
the first President of the Fulton Avenue Neighborhood Club. During the Second
World War, he worked for the Fairfield Shipyard as Ship-fitter, and after the War, for
the Pennsylvania Railroad, and retired from Cummins Diesel Engines in 1980. Mr.
Koromah leaves to mourn his loss: (5) Five Children; (14) fourteen Grandchildren;
(40) Great-Grandchildren; (1} Son in law; and a host of cousins-in-law in America,
Europe, and Africa (MOA RIVER). Indenture/Will is in the Office of the
Registrar General under No. 244/12836/35. See. (Exhibit”No.1D)

C. During the reign of “King” Lamin Abdul Lahai Massaquoi of Sierra-Leone, he signed
leases with Mr. John Myer Harris and the British government for the use of land in
Sierra-Leone for 99 years beginning in December of 1877.

a. Plantiff(s) was appointed by a Council of Elders to represent his grandfather who
was the custodian of the “Houses of the Massaquo?”’ whose properties extended
across the boundaries of the Kingdom nation states (700 miles).
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 17 of 32

b. In the early 1830’s the Massaquoi clan inherited the Gallinas Kingdom, and on
November 19, 1840, treaties were signed, and on February 2, 1850, they were
incorporated into the Liberian government under much distress.

c. In 1944, the Massaquoi history was expunged from the Liberian records because
of the “corrupt Barclay Government, better known as the “Barclay Group” and
Plaintiff(s) ask the Governments of Liberia/Sierra-Leone to restore the families
rich history back on the record, with the Defendant(s) “Government of the U.S.”
being the mediators through the Department of Justice.

D, There appears in the Sierra-Leone Royal Gazette, page 32, the proclamation
publishing on March 19, 1883, the acceptance by Queen Victoria of the agreement
with the Crown Prince’s family which occurred on March 30, 1882. The family from
the Public Record Office has already obtained copies of this and many other
important documents pertaining to this matter.

E. HM Colonial Governor, Arthur E. Havelock of Sierra-Leone on March 30, 1882, had
reminded King Siaka’s successors that those treaties were still in effect under
International Law from 1840, and they would receive their annual stipend/payment if
peace reigned in the country upon Her Majesty’s approval. The withholdings of these
stipends were to be released when peace came to their Government in the future.

F. Mr. Harris as a West African Merchant managed the (then) Sulymah Trading
Company, Limited and (then) The Sulymah & Sherboro Trading Company, Ltd., and
was the major beneficiary of these leases. The Company records are part of the Public
Record Office under PRO/NRA reference BT31/3051 &31/2733/14806. Payments
due by Mr. Harris from the sale of these leases were £2500.00 to be paid from the
Colonial Government of Sierra-Leone into the treasury accounts of the Bank of
England/Chancery Division 1905. See. (“Exhibit”No.1G)

G. The United States Government helped the Europeans strip (lease) African Nations
with the Berlin Conference/Congo Conference of 1884-85 regulating trade in Africa.
On April 10, 1884, The United States Senate authorized President Chester A. Arthur
“To recognize the flag of the (AIC) Association of International Congo on the equal

. of that of an allied Governments.” This organization sought to combine the numerous
small territories acquired into one sovereign state and asked for recognition from the
European Powers.

H. On April 2, 1884, the United States Government, having decided that the cession by
the Native Chiefs were lawful, recognized the International Association of the Congo
as a Sovereign Independent State, under the Congo Free State. This example was
followed by Austria-Hungary, France, Germany, the United Kingdom, Italy, the
Netherlands, Portugal, Russia, Spain, and Sweden. The International Conference on
African Affairs, which met at Berlin in November 1884-85, determined the status of
the Congo Free State. At this Conference there were no African rulers and Liberia
became a member of the “Family of Nations.”
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 18 of 32

I.

From Colonial dispatches of January 1888, the condition of affairs arose from the
strife for the succession to the authority of the late Prince Manna Massaquoi, and
from a desire to plunder the wealth (gained by Prince Manna in the slave trade) which
had come to his brother Jiah, who succeeded him, led to the murder of Prince Jiah, to
the fighting between Bocarry Governor and the chiefs of the lower district, and to all
the miseries and plunder that followed.

a. Proceedings were before Chief Justices William W. Streeten (1880-81) and
Francis F. Pinkett (1881-1885) with colonial Governors A.E. Havelock 1881-
1884} Samuel Rowe (1885-86) and Hay in 1887, whom had Presents and Stipends
for the Kings and Chiefs.

b. During disturbances in his country from the passing of King Jiah, Abdul Lahai
was kept in Freetown at the expense of Her Majesty’s Colonial Government for a
considerable period, from 1887-1889.

The RT Hon. Joseph Chamberlain Secretary of State for the Colonies consented to a
proclamation formally declaring that the territories on the British side of the boundary
line fixed by the agreement with France, dated January 21st, 1895, are under the
protection of Her Majesty.

In 1896, the principal Chief of the Gallinas. Abdul Lahai died, and a meeting was
called after his death to prepare the ceremony of his burial. During the ceremony,
they (Chiefs) proposed to discuss information they had heard from the Government.
The Chiefs proposed to Lamin Abdul Lahai, the dead chiefs son, that they had met
together, and may not have the opportunity of meeting again.

a. The Ordinance sent in the early part of 1898 stated, we shall be subject to pay hut
tax and licenses. This new law is very hard, but to improve the trade it cannot be
helped. But due to war and the inability to rebuild, the hut tax cannot be paid.
They sought help in Freetown to bring this before the Government that they
cannot pay the hut tax.

b. December 18, 1896, from the (64) Chiefs of Sulima and the Gallinas to Sir S.
Lewis, C.M.G Barrister-at-Law asking him to put their petition against the
Protectorate Ordinance before Governor of Sierra-Leone.

c. September 17, 1898, John Myer Harris, after the disputes in the Gallinas and
Sulima districts, the people paid the hut tax. Lamin Lahai, a treaty Chief was paid
£20 a month or £215 annually. Mr. Harris was so familiar with the dealings of the
Chiefs because back in April of 1884, the land in question was contracted or
purchased by the government of Sierra-Leone on title for £2500.00 from a 99 year
lease that was granted by King Lamin Abdul Lahai Massaquoi, which still has
docket in Her Majesty’s Royal Court of Justice, London.

Momula Massaquoi IV, born in 1872, after the death of his grandfather Prince Manna

was elected heir in 1896, and dethroned in 1906 by His Majesty’s Government.

a. Prince Manna was King by right over his country and governed it with no
disagreement from his people.
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 19 of 32

M. Plaintiff(s) colonial records and dispatches from time immemorial indicates that from
1840-1898, numerous agreements and treaties were signed with the Gallinas (Kings
& Chiefs) and proclamated by the British Parliament on Her Majesty’s Commissioner
and CORRESPONDENCE on the Subject of the INSURRECTION IN THE
STERRA-LEONE PROTECTORATE 1898. (Part 1.) REPORTS AND
CORRESSPONDENCE (Part 2.) EVIDENCE AND DOCUMENT

N. By customary law when the office of Paramount Chief is vacant, an election takes
place among a limited number of persons of the same family, in which this case
would be the hereditary succession to the Massaquoi Estate within the Gallinas,
Sulima districts.

OQ. The Massaquoi family extends back into a romantic past- so far, in fact, that it can
borrow without challenge the glories of ancient Ethiopia. In the days of the Pharaohs,
so runs the lore of the Plaintiff and family, the people who inherited the eastern and
western banks of the Nile were the same as those who possessed the Sudan and
Nigerian countries. The latter once constituted the great Ethiopian empire. When the
Berbers were in their ascendancy, during the reign of Charlemagne, the House of
Massaquoi arose in the ancient Kingdom of Timbuctu. Their people were related to
those families which ruled over the whole of the Sudan for thousands of years.
Sometime around 12 or f4 A.D., the Berbers, Moor, Touaregs, Tibbis, and all the
tribes of the Sahara Desert confederated for the purpose of destroying the empire.
After many wars, the houses of Massaquoi, Valinger, Kia Tamba, and Farhnbuley
migrated westward. Kindred tribes to the east of Timbuctu moved eastward and
established the Kingdom which is now Victoria, Nyanza, and Tancania.

P. The western branch was led on its westward trek by the Massaquoi’s, surrounded by
1,000 cavalrymen. Farhnbuley was in the center, guarding the sacred vessels and the
Ethiopian crown, and in the rear were women, the priests, and the baggage of the
Mellestine Empire. They conquered tribes in their path; some of these tribes joined
the conquering caravan. Eventually they reached the Musadu plains and finding it
good country they took possession and settled. Branches of these people extended
themselves farther westward into Konoma, which is now Liberian territory. Here they
encountered the Golas and Mendes, but having lost so many warriors on the long trek,
they decided to make peace with these tribes. As they recovered their strength, they
became the peacemakers between kings and tribes of the whole area.

Q. President Weah is at the cross-roads of whether to create his own Kings and Queens.

R. On June 20, 2013, President Sirleaf informed the nation that a safe, secured in the Old
Executive Mansion since the passing of President William V.S. Tubman, had finally
been opened. At the National Archives, Director-General Philomena Bloh Sayeh
briefed President Sirleaf about the fragile state of some of the documents found in the
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 20 of 32

safe, including the original Constitution, Declaration of Independence, and the Border
Agreement with the Republic of Sierra-Leone- all dating back to the 1800’s.

34. Defendant President Donald Trump and His History of Racial Animus

A. Defendant President Trump has a history of bigoted remarks and actions that holds
racial animus against people of color. He continued to insult and belittle immigrants
of color after he began his presidency, The New York Times stated that in June 2017,
he participated in a policy meeting regarding immigration matters. According to
officials interviewed by the NYT, during the meeting, Defendant read aloud from a
document listing the number of immigrants that had received visas in 2017. The
Defendant complained that more than 2500 were from Afghanistan, which he called a
terrorist haven. He “grumbled” that the 15,000 people from Haiti all have “aids.” He
also read that 4,000 immigrants came from Nigeria.

B. Two officials who participated in the meeting recalled that the Defendant stated that
once the Nigerian immigrants had seen the United States, they would never go back
to their “huts” in Africa. The Defendant’s prejudicial view of predominantly black
countries as “shithole countries” predicts his presidency. On February 27, 2019 the
Defendant’s former attorney, Michael Cohen, testified before congress that Trump
asked him if he could name a country run by a black person that wasn’t a “shithole.”
Although the exact date of this statement is not known, Cohen testified that this
occurred “...when Barack Obama was President of the United States.”

C. According to the Defendant’s own State Department, significant human right abuses
are prevalent throughout Liberia. This includes “extrajudicial killings by police;
Police abuse, harassment, and intimidation of detainees and others.

35. Methods of the Suppression of the Slave Trade

A. “The American Colonization Society was founded in Washington City in December
1816. Two million slaves of colored persons in the southern portion of this Union was
under the exclusive control and legislation of the slave holding States, each having
the sole right of regulating it within its own limits.

B. Two hundred thousand slaves scattered throughout the Union, and legally free,
enjoyed few advantages of freedom.

C. There were powerful causes operating to frustrate all efforts to elevate very
considerably, men of color in this country, which could not exist, to prevent their
elevation, in a separate community from the whites.

D. The voluntary separation of the colored from the white race was in reason, and the
public judgment, so desirable on general principles of benevolence, that a union of
the wise and pious from every State and section of the country in support of measures
proposed for the good of the colored race, yet tending to no such result, could not be
expected.

E. The success of any measures for the good of that race must depend in a great degree
on such union.

10
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 21 of 32

F, Africa was inhabited by 50,060,000 to 100,000,000 of uncivilized and heathen men,
and that to render as far as practicable, the elevation of her exiled children conducive
to the deliverance and salvation of her home population was required alike by
philanthropy and piety.

G. The US Justice Department once managed the Interior Parish unit responsible for
Inter-Tribal affairs of Liberia and Indian Tribes. When Old King Peter, the old
harasser of the Ist emigrants, died in 1825, the Massaquoi’s were made trustees of
King Peter’s Estate. It was thus to this family that President J.J Roberts and Benson
appealed in some of their early tribal difficulties. (Here the lore begins connecting
with recorded history.) King Peter’s son, Jalloh Finajay, challenged the estate and the
Massaquoi’s and Farhnbuley’s since to destroy Peter’s estate would invalidate the
treaty of (1821-25) agreement with the Colonization Society.

H. To defend their position, weapons were provided for the Massaquoi’s by the Liberian
Government. They acquitted themselves well. From this point, dates the spiritual
union of the Vai Nation with the government of Liberia. At any rate, whether legend
or fact, the history is sufficiently strong to survive unchallenged.

36. The American Colonization Mission to England (Joint-Venture)

A. In 1839, the right of search and the anti-slavery movement in England planned to
supplement diplomacy and naval action by ending the slave trade at its source. The
main points in the program of economic and social regeneration proposed by Thomas
Foxwell Buxton at the formation of the African Civilization Society were expanded in
the Society’s Prospectus of 1840; and the two most important were adopted by Lord
John Russell.

a. A widespread system of treaties with African chiefs was to ensure the prohibition
of slave-dealing on the coast; With blows to the active opponents of the slave
trade, and one which crippled the naval tactics used with success by Captain
Denman at the Gallinas in 1841, was a decision by the Law Officers and Lord
Aberdeen that the blockade and destructions of foreigners’ stores were illegal.

b. Asa result of this setback to the policies initiated by Buxton and Russell, new
instructions for naval officers were drawn up by a committee appointed in 1842
and incJuded a short draft treaty of six articles which promised neither British
protection nor any form of payment to African chiefs.

c. Meanwhile, opposition to use of the Preventive Squadron as an instrument of
humanitarian policy mounted and reached a climax in the unfavorable conclusions
of a Select Committee of the House of Commons in 1848. But a change of legal
opinion and the failure of an action for damages brought by slave-dealers against
Captain Denman, allowed the destruction of the slave stations on the coast to
continue, where treaties have been broken.

d. This was an acceptance of the favorable recommendation of the lords’ Committee
of 1850. On the coast, the most significant results of the campaign were the
extension to end the treaty system and the appointment of consuls. Between 1841
and 1853, some 65 agreements to end the slave trade were made with chiefs from
the Gambia to the Delta. Only a few of the early treaties for the Gambia and
Sierra-Leone contained the terms of the draft of 1840. And these had to be

11
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 22 of 32

changed. The bulk obtained in 1847 and 48 were based on the draft of 1844.
Consuls and Consulates were appointed to the Gallinas and Delta.

e. Entered according to the Act of Congress in the year 1841, by William W.
Morrison, in the District Court of the District of Columbia.

B. The American Colonization Society and the British government had plans that would
eventually see Liberia and Sierra-Leone under a federalist government seen under
Great-Britain. The Ambassador of the UK in Liberia needs to be consulted on the
promises made and due from Her Majesty’s government to the people of the Mano
River Region. See Reference. (“Exhibit”No.1Z.)

C. The 1839 Constitution of the Commonwealth of Liberia, Article V. Section 15.
Miscellaneous Provisions states, “The improvement of the native tribes and their
advancement in the arts of agriculture and husbandry being a cherished object of this
government, it shall be the duty of the President to appoint in each county some
discreet person whose duty it shall be to make regular and periodical tours through
the county for some purpose of calling the attention of natives to these wholesale
branches of industry, and of instructing them in the same and the legislature shall, as
can conveniently done, make provision for these purposes by the appropriation of
Monies.”

D. The foregoing Constitution was modeled a good deal on the United States. The
franchise is to be exercised (apparently only in towns) by “every male citizen of
twenty-one years possessing real-estate.” The Constitution did not define the relations
which were to exist between the (American) colonist and the indigenous people of
color. The real natives of Liberia, indeed, are only alluded to in Section 15 of Article
V. No doubt for some time to come, the position of native “Kings” and chief must
continue to be recognized, but as the component parts of the republic are welded
together, the Constitution will have to become enlarged so as to admit of a reasonable
extension of the franchise to all Africans who are Liberian citizens, and who
acknowledge the central Government at Monrovia.

E. In support of this submission, it was contended that in the case of Buron v. Denman
(3 848) 2 EX. 167, the subject matter of the claim was not justiciable.

a. In October 1840 Commander Denman, an officer in the Royal Navy on the Sierra-
Leone station, received a request from the Governor of Sierra-~Leone to take
measures for the liberation of Fry Norman and her daughter, both British subjects
who were detained as slaves at the Gallinas by Prince Manna, the son of King
Siaka, the sovereign of that country.

b. He entered the Gallinas River with an armed force, liberated some slaves held by
Spaniards and took possession of the barracoons belonging to the plaintiff(s).

¢. At Commander Denman’s request Fry Norman and her daughter were delivered
up to him. After beating, bribery, and rape, he then concluded a treaty with Prince
Manna, acting on behalf of King Siaka and the Chiefs of the country for the
abolition of the slave trade there with £4,000.

12
37

38.

39.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 23 of 32

d. The report states that “on the 23" of November, the defendant, in the execution of
this treaty, commenced burning the plaintiff(s)’s barracoons” (1848) 2 Ex. 167 at
176. The plaintiff's barracoons were destroyed. The slave dealers deserted the
factories and let loose the slaves, great numbers of whom were subsequently
carried by the defendant to Sierra-Leone where they were emancipated.

e. The goods stored were claimed by King Siaka was forfeit to him by the reason of
defiance of his law. Commander Denman “continued to fire the barracoons”
(1848) 2 Ex, 167 at 176. He then sailed to Sierra Leone, having liberated 900
slaves.

f. The plaintiff(s) brought proceedings of trespass in England against captain
Denman. When notified of these proceedings, the Admiralty and the Secretaries
of State for the foreign and colonial departments adopted and ratified the acts of
the ratification of the conduct of the Commander Denman, directing them that the
ratification was equivalent to a prior command and rendered it an act of state for
which the Crown was alone responsible. No explanation was provided as to why
the conduct would be regarded as an act of state.

g. There has been no decision since Buron v. Denman in 1848, over 150 years ago,
which provides guidance to assist us.

. Ina letter addressed to the Lord Earl Russell from Mr. Gerald Ralston, Consulate General
of Liberia in London on August 26, 1861, he suggested it was of supreme importance that
a renewed recognition of the Gallinas Kingdom, as being part of Liberia, should be made
by Her Majesty’s Government with as little delay.

The UK Judges of the Supreme Courts considers this an exotic case on an international
scale and the references are included with these documents. Our families are ready to
meet with Government to settle this historical matter. See references [2017] UKSC 1,
[2014] EWHC 3846 [2015] EWCA civ.- 843. [2017] UKSC 3, [2014] EWCA civ.1394
and EWHC 3846 (QB)

[Excerpts]: Orders of the Day — Kings Speech Parliamentary Debates (Fifth Series)
26 November-December 20, 1935 — House of Commons

Order read for resuming Adjourned Debate on Amendment [6th December] to question
[3rd December], “That a humble Address be presented to his Majesty, as followeth:

Most gracious Sovereign,

We, Your Majesty’s most dutiful and loyal subjects, the Commonwealth of the United

Kingdom of Great Britain and Northern Ireland, in Parliament assembled, beg leave to

offer our humble thanks to your Majesty’ for the Gracious Speech which Your Majesty
has addressed to both Houses of Parliament.”- [Mr. Wakefield].

Which Amendment was, at the end of the question, to add the words:

13
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 24 of 32

“But regret the failure of Your Majesty’s adviser’s to indicate any effective policy
for the restoration and maintenance of peace, the reduction of armaments by international
agreement, and the removal of the economic cause of war, the failure to recognize the
need to plan the economic life of the country on the basis of public ownership in order to
abolish poverty in the midst of plenty, and the omission of any adequate proposals for
dealing with unemployment, including the abolition of the means tests, the distressed
areas, and the just claims of the miners for an immediate increase in wages.”- [Mr. D.
Grenfell.]

We have to consider some of the repercussions of the affairs in Africa. What-ever
be the upshot of the present dispute, it is going to have the gravest effects right through
that continent, and we as ruling over millions of the black race must look to the future. I
have been impressed by the interest with which this struggle is being followed throughout
Africa, and not only throughout Africa, but by men of African race all over the world.
The question of what shall be the relations between the black and white races is hanging
in the balance. We have today far more than ever before, and it is rapidly increasing. In
Africa, you have every kind of different relationship between white and black, and you
have instances of very grave oppressions sometimes, I am afraid under the British flag. I
think the black race, like the brown race and the yellow race, is becoming self-conscious
and demanding its position in the world. If the present struggle is dealt with on the lines
of Imperialism, If the upshot of the struggle is to be the parceling out of Africa in which
portions will be handed over to this Imperialistic Power and that, in which the inhabitants
are to be treated as part of the land, you are going to have an extremely serious position.
That position will shake all of Africa. Whatever be the decision, the vital question of the
relation of white and black races is one of which in now quite close to us, and will come
up for decision in a short while.

We on this side of the House think it is time it was made perfectly clear that the
old Imperialism has got to go, that no longer are the African race to be treated as hewers
of wood and drawers of water for the white races, and that any attempt to bring up again
the kind of Imperialism we have had in the past is bound to fail. The defense of what has
been done by Italy is that Italy is doing just what we did in the past. Well, it was done by
us and by other races in the past, but we say that time has come when you have to give up
the idea of Imperialism; the time has come when black races must have their chance of
development, and until then they have got to be dealt with by the white races, who must
act as trustees, not as trustees for a particular Imperialistic Powers but as trustees for the
World. I say this because I think that the issue which has to be faced in the Italy-
Abyssinian struggle is much wider even than as it affects the League of Nations. It affects
the whole world. To our mind Imperialism is only capitalism writ Large, and the Solution
is not coming by building up a number of great Imperialist Powers contenders among
ourselves, but by recognizing that Africa, like the other Continents, must be brought into
harmony with the rest of the world and developed for the people of Africa and for the
whole human race. We claim that a mandate principle should be applied.”

40. Difficult Times for Liberia (MANO RIVER BASIN)
A. Between the late 1930’s/40’s, the 18th President of Liberia, Edwin Barclay, was
succeeded by William Tubman on January 3, 1944. During the Presidency of
Barclay’s Government, his time in office, he had the Massaquoi’s name expunged

14
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 25 of 32

from official records and from the Nations written history. Barclay and Momula
Massaquoi IV were childhood friends. Massaquoi was Secretary of Interior
Department in 1912. This was the beginning of 25 years of service to the Liberian
Government, he died on June £5, 1938, his successor was Plaintiff(s) grandfather
George M. Koromah Sr.

B. Prince George Mullen Koromah descended from royal lineages of the Vai People of
Both Liberia and Sierra-Leone. He was born in Grand Cape mount, Liberia in 1908,
daughter of Sally Massaquoi and successor to Momolu Massaquoi IV who wore the
Crown of The Gallinas, and he died in 1989. Most of his estate was settled by his
family, but the agreements to the existing boundaries demarcated at the Berlin
Conference 1885 where a product of negotiations and treaties entered into among
Colonial Powers without any input from the African People for the Plaintiff(s) 600
miles of coastal properties. The Gallinas is a territory inhabited by the Vai people,
who occupy territories in southeastern Sierra-Leone and western Liberia. The original
inhabitants of the country themselves call this territory Massaquoi, and this name was
chosen because a member of the Massaquoi family played the most important role in
its founding, and a Massaquoi has sat on the throne of the country since its
foundation. See Reference. (““Exhibit”No.1C)

C. Now is the time to bring members of the Royai family into the Mano River Region
for eradicating Corruption, Nation Building, Peace, Stability and Wealth Creation.
Communications from a published article in 2001, clearly stated: With Charles Taylor
out of power, the US/UK would consider a 65-year Joint-Partnership Venture, with
calls for a new political class for the Mano River Union, which has an estimated
37million citizens. Highlighted Printouts will detail the Corruption in the Barclay’s
regime before Tubman’s Presidency in 1944.

D. The Government of the Gallinas consisted of the Sovereign, King Siaka Massaquoi,
his eldest son Prince Manna, and three chiefs of the Name Rogers on the borders of
Liberia/Sierra-Leone. After numerous anti-slave trade treaties, witnessing the
Emancipation Proclamation acts with the American, British amongst other
Governments (Naval Squadron), John Myer Harris established the Sulymah &
Sherbro Trading Company, which has Ownership to the Oil Blocks in the Atlantic
Ocean. Through court orders, the dissolved company shall be re-activated as the
Sulima Holdings Inc; by the Government of the UK/US Chamber of Commerce from
within the Mano River Region or ECOWAS, the Community totaling over 250
million people with projects undergoing ECO-AIR, ECO-BANK, ECO-MARINE and
ECOWAS CITIZENSHIP.

E, The Vai People should be given the opportunity to capitalize on the benefits of the
diamond mining without any disturbances. A stable, peaceful, and secure
environment must be established before the commencement of the drilling for oil off
the coast of Sulima. The potential for creating jobs and the generation of income for
the residents of Pujehun district does appear to be quite enormous, It should not be
tampered with by anybody. It is time for us to take proactive steps to minimize the
incidence of threats and counter threats of violence and intimidation. There are

15
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 26 of 32

several countries in the world who manifest some of the best practices in politics.
Those countries should be our role models and emulating their examples will open
the door for a full membership in the democratic community. That should be our goal.

4]. Five Water Assets of Pujehun District and Eight Economic Opportunities Related to
Them.

42.

A.
B.

C.

D.

E.

Pujehun District is fully separated from Liberia by the boundary of the Mano River.
Pujehun District is partly separated from the rest of Sierra-Leone by the boundary of
the Wanjei River.

The Moa River lies somewhere between the Mano & Wanijei rivers, but closer to the
Mano River than Wanjei River and almost parallel to both.

The Wanjei River feeds into Lake Mape- the largest and longest navigable lake in
Sierra-Leone.

The Moa River feeds into Lake Mabesi- the Second largest lake in Sierra-Leone.

Related Economic Opportunities

A. All three rivers- the Wanjei, the Moa, and the Mano have tributaries that link up with

the Atlantic Ocean. This quality makes them accessible to the opportunity of an
international river navigational for tourism.

The Wanjei River possesses the unique quality of linking up with Bonthe District’
Kwame Bai Krim Chiefdom as well as with Lake Mape which is Sierra-Leone’s
largest lake.

The Moa River possesses the unique quality of passing through the Tiwai Island
which is an internationally recognized protective Game Reserve in Sierra-Leone.
The Moa River also possesses the unique quality of passing through the Gola Forest,
which is another internationally recognized protective Forest Reserve in Sierra-
Leone.

The Moa River further possess the unique quality of linking up with Lake Mabesi
which is Sierra-Leone’s second largest lake.

The Mano River forms Sierra-Leone’s boundary with Liberia which implies that its
benefits (such as harboring part of the Gola Forest and containing nearby Iron Ore
reserves at the Dares Salam/Congo axis) can be leveraged as a source of an
international collaboration between Pujehun District in Sierra-Leone and Cape Mount
County in Liberia. .

Beyond the rivers and lakes mentioned on the map accompanying this post are also
12 other lakes which may offer fishing, farming, irrigation, and even mini-
hydroelectric dam opportunities.

. The Sulima shorelines of Pujehun District up to Bonthe District have been determined

to possess offshore oil. This is another opportunity to leverage through negotiations
that may bring benefits to the district.

16
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 27 of 32

43. Ideas for Liberia/Sierra-Leone’s Offshore Oil Reserves

A. During the anti-slave trade treaty signing with the Kings & Chiefs of the Gallinas
Country, Sierra-Leone and Liberia in 1840, the Law Officers Department of Her
Majesty’s Government had confirmed that the “Waters” around the boundaries of
Sierra-Leone and Liberia were the “Waters” of King Siaka Massaquoi’s estate. As of
today, if Ownership to the offshore oil and gas reserves can be proven to the
Governments of Liberia and Sierra-Leone than there would be a credit line of about
$500 billion from OPEC for development of these territories.

a.

b.

Plaintiff(s) would like to see systems for sharing wealth equitably created with
this oil.

Given the background into the discovery of the oil blocks in the Mano River
Basin, we should now be able to talk about the vogue in oil wealth
transparency and judicious use in the interest of the people.

Among many things, re-investing in the people and making youth
employment outdated should feature prominently in the development agenda.
In addition, several factors must be treated with the sensitivity they deserve
first: Landownership, Tax Regimes, Environmental Obligations, Lease
Agreements, Job Creation, Corporate Social Responsibility, and Corporate
Good Governance.

Noting the Mano River Unions path to success would be putting oil reserves
into Sovereign Wealth Funds that operate outside public scrutiny. The SWF
(Sovereign Wealth Funds) are being batted around as the fashionable way for
Africa’s petrol powers to invest their oil wealth.

The idea of Sovereign Wealth Funds could be a possible out of many, through
which countries can accumulate, keep and distribute wealth equitably,
provided there are set agendas immediate, medium- and long-term plans for
development.

As the Ebola outbreak becomes more serious in West Africa, it could be
putting the oil and gas industry in the region at risk. Failure to contain this
virus could put workers living in the area at risk of exposure.

Analyst covering Upstream Oil and Gas in the Sub-Sahara Region, said many
of the E&P operations depend heavily on expatriates working and living in the
region. While most of the oil production in West Africa is offshore the
workers primarily live onshore. Exposure onshore could cause spread to rig
themselves, putting workers in even greater danger of contracting the Virus.

44, Articles from the United States Constitution

A. The Constitution of the USA prohibits both the USA (Art I, Sec 9, cl 8} and States
(Art I, Sec 10) from granting titles of Nobility

B. The Constitution (Art I, Sec, cl 8) also prohibits persons holding any office of profit
or trust under them from accepting any present, emolument, office or title, of any

17
45.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 28 of 32

kind whatever, from any king, prince, or foreign state, without the consent of the
Congress

An alien petitioning for US citizenship must renounce all titles of nobility: the law
and regulation do not mention that the renunciation is for his descendants

Nothing prohibits a US citizen from inheriting a title of nobility from abroad (as long
as he does not pledge allegiance to a foreign power) and from accepting a title of
nobility (if not holding any office of profit or trust under them)

Titles of Nobility constitute an hereditary asset to a family and not to an individual:
there for individuals cannot renounce their title for anybody else than themselves
(similarly, they cannot sell their title for title): it may be sustained that US citizens,
children of an alien having obtained US citizenship (and renounced his title) can
inherit the Title and Nobility then renounced.

The Government of the Gallinas had conventions, communications, and dispatches

amongst these International Conferences and Court Proceedings as follow:

A.
B.

The Slavery Abolition Acts of 1807, 24, 33 and 43 of the (British Empire)

The American and British African Colonization Societies- 1816-1964, entered
according to the Act of Congress in the year 1841, by William W. Morrison, in the
District Court of the District of Columbia.

The Capture and Trial of the Amistad Captives 1839, U.S. v. THE AMISTAD, 40
U.S (15Pet) 518 (1841).

The Royal Navy’s Captain Joseph Denman- 1840-48, Criminal Court, The Old Bailey
and the Court of Exchequer, Queens Bench. (900 slaves given to Denman at £5-10
per slave). This case still precedent in International Law. See reference (BURON v.
DENMAN) (1848) 2 EX. 167 at 176, and the UK SUPREME COURT. [2017] UKSC
1, [2014] EWHC 3846 [2015] EWCA civ. 843. [2017] UKSC 3, [2014] EWCA
civ.1394 and EWHC 3846 (QB). See Reference. (“Exhibit”No.1G)

The Trial of Pedro de Zulueta, June in the Central Criminal Court of the City of
London, on the 27th, 28th, and 30th of October, 1843 on a charge of Slave Trading.
Under Geo. IV, cap 113

. Lord Ashburton’s Treaty of Washington 1842 (British Empire) the US/UK, both

signs treaties for land with over (30) Kings and Chiefs at US ($133 per mile for 350
miles of coastal properties) dating back to the 1830’s totaling up to 4,000 Sq. miles
Liberia’s Independence 1847-(50) The Gallinas was incorporated under Prince
Manna & President J.J Roberts for Commerce and Trade. Principal articles of
commerce are palm kernels, palm oil, camwood, piassava, rubber, and some ivory.

. President Abraham Lincoln established the Freedman’s Bank on March 3, 1865. At

its height, the Bank had over $57,000,000,000.00 in deposits (adjusted for inflation)
and 70,000, depositors. Congress can replace these monies stolen from the Black
race after Lincoln’s assassination.

18
46.

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 29 of 32

<cn

The British Parliament forever awards Prince Manna Massaquoi the treasury for ALL
abolition treaties made binding as a pension. - 6, July 1865 SELECT COMMITTEE
ON WEST AFRICA,

187] Loan: President Roye’s death and succession? (Death of Prince Manna of the
Gallinas Kingdom in 1872.) This period marks the eleven-year gap in Liberia’s
history.

The Anglo- Franco-Liberian Boundary (Havelock) Agreements- March 30, 1882-
1911, Stipends paid (2) twice in 1882 and 1892 ($40,000.00) on account at £210 paid
annually to King and Chiefs, successors, and assigns. This account accrued to
$22,613.00 in 1911.

The Berlin Conference of 1884-5, Ratification November 11, 1885, Lamin Abdul
Lahai Massaquoi

. The International Association of the Congo (1880's). Recognized by the United

States of America.

The Brussels Act of 1890.

Her Majesty’s Commissioner’s report on the Protectorate Ordinances of 1896-98 on
Sierra-Leone’s colonization.

Saint Germaine Convention of 1919.

. Liberia’s International Slavery Convention 1926. (Stolen lands from Firestone

FO458/123) SECRET SETTLEMENT WITH THE DEPARTMENT OF JUSTICE
see (Exhibit)

. The League of Nations-1930’s Native Tribal Leader (M. Massaquoi) Presidential

Aspirant. He had a fall out with the Barclay administration for native Kru Chiefs
giving damaging reports to the investigators of the league. Massaquoi died days after
surgery in 1938, believed that Barclay had witchcraft performed so that he couldn’t
become a Presidential candidate. Massaquoi was a Prominent member and Business
manager of the League with a Land portfolio of 300 miles long of coastal properties
with a width of 200 miles, extending along the seaboard from Cape Palmas to
Gallinas and Grand-Capemount),

1930-Exchange of notes between His Britannic Majesty of the United Kingdom with
Sierra-Leone and Liberia.

The United Nations- 1945,48, Universal Declaration of Human Rights

The Mano River Union- 1973.

The Economic Community of West African States (grandfathers face on this currency
2020) ECOWAS.

In addition to the annual Register or Catalogues, the report of the President (JHU) is

annually published, and from time to time during, the year “Circulars” are printed, in
which the progress of investigations, the proceedings of societies, reports of lectures, and
appearance of books and essays are recorded. Encouragement is also given by the trustees
to the publisher of literary and scientific periodicals and occasionally of learned essays
and books. (Investigations, sometimes of very special character, are carefully
prosecuted.) The journals regularly issued are:

19
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 30 of 32

A. The Johns Hopkins University Studies in Historical and Political Science
Herbert B. Adams, Editor
History ts Past Politics and Politics Present History
NINTH SERIES, By J.H.T McPherson, PH.D, Fellow in History, JHU 1889

B. The Johns Hopkins University Studies in Historical and Political Science
Herbert B. Adams, Editor
History is Past Politics and Politics Present History
1-11 Government and Administration
Jan/Feb/Oct 1891 Liberia. VOLUME IX, Page 481
Westel W. Willoughby, A.B., William F. Willoughby, A.B

C. The Johns Hopkins University Studies in Historical and Political Science
Under the Direction of the Department of History, Political Economy, and
Political Science
VOLUME XXXVII, Pages. 321-664
JHU Press 1919
D.P SMELSER PH.D
Professor G.E Barnett

47. Plaintiffs) brings forth the following counts and allegations supporting his cause of
action based on the preceding facts and claims.

48. On March 30, 2018 and April 3, 2019, the Plaintiff visited both Governments of Liberia
and Sierra-Leone to present documentation to the Liberian Legislature and the Office of
the (SL) Vice President to help solve corrupt practices involving Corporate land grabbing
matters and to help his family, the natives retain ownership of the land in question, which
rightfully belongs to his family. Mr. Joseph Rahall, Director of Green-Scenery in Sierra-
Leone didn’t want to participate in the Commission appointed by President Jutius Maada
Bio of Sierra-Leone to solve this detrimental situation.

49. There are about 72 border entry points along the Sierra~Leonean border with Guinea and
Liberia in the Kailahun district with only 8 border entering points with full security
personnel together with customs, immigration, and Port Health Officers. This
unfortunate situation has led to the country over the years losing huge sum of money
through illegal entry and exit of goods and unwanted commodities using the
unmanned/illegal entering points. It was reported that the deadly Ebola hemorrhagic
diseases that caused the death of over four thousand innocent Sierra-Leoneans came
through some of those illegal border-crossing points along the Guinea/Liberia border
with Sierra-Leone.

20
. om rs

Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 31 of 32

50. During the 1960’s some black leaders revived the idea of reparations. In 1969, James
Forman(then head of the Student non-Violent coordinating Committee) proclaimed a
“Black Manifesto.” It demanded $500million from American churches and synagogues
for their roles in perpetuating slavery before the illegal seizure of tribal lands in 1877.
Then in 1988, Congress approved the payment of $1.25billion to 60,000 Japanese-
American citizens who had been interned in prison camps during World War II. See
Reference. (“Exhibit” No,2C)

51. This week, the House of Representatives announced the impeachment proceedings
against President Donald J. Trump on his mis-leading the American people. The media
have been clamoring to remove Trump from office since he was elected 35 months ago.

52. The Plaintiff hopes that this Honorable Court will take into consideration the loses
endured to him and his immediate family of the communications, cultural relationships,
entitled benefits to have been received from their ancestrial lands of both Africa and the
Island of Hilton-Head, South Carolina.

53. On or about November 21,1840, a treaty was signed with Plaintiffs ancestors( King
Siaka/Siacca Massaquoi) abolishing the slave trade in the GALLINAS

54. On or about February 2, 1850, the Gallinas was purchased for Liberia from Plaintiffs
ancestors.

55. On or about July 6, 1865, and months after the Emancipation Proclamation Act of
President Abraham Lincoln, the British Parliament acted as judge binding every treaty
made with King Siaka/Siacca Massaquoi’s estate through Prince Manna as a pension with
gifts, presents, promises and stipends.

56. On or about March 30, 1882, the British government stole/or taken Plaintiffs ancestrial
lands and this happens to be well documented.

57. Plaintiff brings fourth the following counts and allegations supporting his cause of action
based on preceding facts and claims.

CONCLUSION
“PRAYER FOR RELIEF”

Wherefore, Plaintiff(s) seeks compensatory damages in the amount of $20,000,000,000,000.00
from this Honorable Court to execute the vision sought by the Philanthropist of the American &
British Colonization Societies.

21
Case 1:19-cv-02861-CCB Document1 Filed 09/30/19 Page 32 of 32

Dated this 30" day of September 2019 Respectfully submitted,

Comelius Xavier Koromah-Boykins

Per Se Lipigant
Cohen k.

3230 Yosemite Avenue
Baltimore, Maryland
21215-7513

22
